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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

                       HONORABLE THOMAS J. McAVOY

                  UNIFORM PRETRIAL SCHEDULING ORDER


 Richard Lynch

                                                          Civil No. 19-CV-1424
 vs.                                                                TJM/CFH
 MTX Group, Inc. ,et al.

      Counsel for all parties having reported on the status of this action as directed
by the Court, and the Court having considered the positions of the respective
counsel regarding a schedule for the progression of the case,

IT IS ORDERED that:

1) THE DEADLINES SET IN THIS SCHEDULING ORDER SUPERSEDE THE
DEADLINES SET FORTH IN FED. R. CIV. P.26(a)(3) AND ARE FIRM AND WILL
NOT BE EXTENDED, EVEN BY STIPULATION OF THE PARTIES, ABSENT
GOOD CAUSE. See Fed. R. Civ. P. 16(b).

2) VENUE MOTIONS are to be filed within sixty (60) days of the date of this
Order following the procedures set forth in Local Rule 7.1 (b)2 and are to be made
returnable before the assigned Magistrate Judge.

3) JURISDICTION MOTIONS are to be filedfiled within sixty (60) days of the date
of this Order following the procedures set forth in Local Rule 7.1 (b)1 (unless a
party who is not an attorney is appearing pro se, in which case L.R. 7.1 (b)2 should
be followed) and are to be made returnable before the assigned District Judge.

4) JOINDER OF PARTIES: Any application to join any person as a party to this
action shall be made on or before March 31, 2020.

5) AMENDMENT OF PLEADINGS: Any application to amend any pleading in this
action shall be made on or before April 30 , 2020.

6) DISCOVERY:

Rule 26(a)(1) Mandatory Disclosures are to be exchanged by .


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All discovery in this matter is to be completed on or before October 30, 2020.
Service of discovery requests must be made a sufficient number of days before this
deadline to allow responses to be served before the cut-off. Please refer to Local
Rule 16.2 (Discovery Cut-Off).

Special procedures for management of expert witnesses:

There shall be binding disclosure of the identity of expert witnesses (including a
curriculum vitae) as set forth below.

       (a) Expert Reports: With regard to experts who are retained or specially
employed to provide expert testimony in the case or whose duties as an employee
of the party regularly involve giving expert testimony:

       (1) No later than , 90 days prior to the discovery deadline set in paragraph
6 above, plaintiff(s) shall identify such expert(s) and, unless waived, shall serve on
the other parties the expert’s written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

      (2) No later than , 45 days prior to the discovery deadline set in paragraph
6 above, defendant(s) shall identify any expert(s) and, unless waived, shall serve
on the other parties the expert’s written report pursuant to Fed. R. Civ. P.
26(a)(2)(B).

      (3) No deposition of experts shall be taken until after the exchange of the
expert reports.

       (4) No later than , 30 days prior to the discovery deadline set in paragraph
6 above, the parties must identify all experts who will contradict or rebut evidence on
the same subject matter identified by another party under subparagraphs 6(a)(1) and
(2) above, and unless waived, shall serve on the other parties such expert’s written
report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

      (5) Motions to preclude expert witness testimony must be filed and served on
or before the motion deadline as set forth in paragraph seven (7) below.

       NOTE: If a treating physician is expected to be called as a witness, he or
she must be identified at least 90 days prior to the close of discovery. The
production of written reports prepared by treating physicians, pursuant to Fed. R.
Civ. P. 26(a)(2)(B), is encouraged as an aid to settlement but is not required. In the
case of any treating professional or other expert witness not required by the court’s
rules to provide a written report, the party anticipating calling the witness must also
disclose, at least 90 days prior to the close of discovery, the subject matter on which
the witness is expected to present evidence under Federal Rule of Evidence 702,
703, or 705 and a summary of the facts and opinions to which the witness is
expected to testify, pursuant to Fed. R. Civ. P. 26(a)(2)©).


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      (b) The failure to comply with the deadlines set forth in subparagraph (a)
above may result in the imposition of sanctions, including the preclusion of
testimony, pursuant to Fed. R. Civ. P. 16(f).

       ©) In order to avoid the possibility of the unavailability of an expert witness at
the time set for trial, counsel may preserve the testimony of such witness as outlined
in paragraph 11(B)(2) below for use at trial. In the absence of same, the trial will
proceed without such testimony.

7) MOTIONS other than those made under paragraphs 2 and 3 above, motions are
to be filed on or before December 31, 2020.

       a) NON-DISPOSITIVE MOTIONS. Non-dispositive motions (except venue
motions-paragraph 2 above-and motions for injunctive relief) shall NOT be filed until
after a conference with the Magistrate Judge, which is to be arranged through the
Courtroom Deputy Clerk assigned to the Magistrate Judge. Before requesting such
a conference to resolve discovery disputes, the parties must have complied with
Local Rule 7.1 (d).

       Non-dispositive motions, including discovery motions, shall be filed in
accordance with Local Rule 7.1 (b)2 and, except for motions for injunctive relief,
shall be made returnable before the assigned Magistrate Judge. Motions for
injunctive relief shall be made returnable before the assigned District Judge unless
the case has been referred to a Magistrate Judge pursuant to 28 U.S.C. § 636©)
(“consent” jurisdiction).

      b)     DISPOSITIVE MOTIONS:

        Dispositive motions shall be made returnable before the assigned District
Judge, unless the case has been assigned to a Magistrate Judge on consent of the
parties pursuant to 28 U.S.C. § 636©).

(8)   TRIAL DATES:

      (A)    TRIAL READY DATE:

             (i)    When no dispositive motion is filed, the motion filing deadline
                    becomes the trial ready date. The Court will issue a notice
                    scheduling the Trial Date. Counsel may contact Judge McAvoy’s
                    Courtroom Clerk, at any time, to request that a settlement
                    conference or trial date be scheduled.

             (ii)   When a dispositive motion is filed and the motion filing
                    deadline has expired, the case is marked trial ready upon
                    issuance of the motion decision. After issuance of the Court’s
                    decision on the motion, Judge McAvoy’s Courtroom Clerk will

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                     issue a notice scheduling a Trial Date.

             (iii)   When a dispositive motion is filed and the motion filing
                     deadline HAS NOT expired, the case will continue on the
                     pretrial schedule previously set in the Rule 16 Uniform Pretrial
                     Scheduling Order. Any request for an extension of the Rule 16
                     Uniform Pretrial Order deadline(s) should be addressed by the
                     assigned Magistrate Judge.

      (B)    TRIAL DATE: It is anticipated that the trial will take approximately 4
             days to complete. This is a jury trial.

9) SETTLEMENT CONFERENCE: A settlement conference pursuant to Fed. R. Civ.
P. 16(d) may be scheduled by the Court prior to the trial or as requested by the
parties. In addition to counsel, a representative of each party with with full
settlement authority shall attend the settlement conference, or be available by
telephone.

      Prior to the settlement conference the parties are to have initiated settlement
discussions. Plaintiff shall submit a realistic demand to defendant at least ten days
before the conference, and defendant shall respond at least three days before the
conference and shall submit a counteroffer, if appropriate. Failure to comply with
these directions may result in sanctions.

10) ASSESSMENT OF JUROR COSTS: The parties are advised that pursuant to
Local Rule 47.3, whenever any civil action scheduled for a jury trial is postponed,
settled, or otherwise disposed of in advance of the actual trial, then, except for good
cause shown, all juror costs, including Marshal’s fees, mileage, and per diem, shall
be assessed against the parties and/or their counsel as directed by the Court, unless
the Court and the Clerk’s Office are notified at least one full business day prior to the
day on which the action is scheduled for trial in time to advise the jurors that it will
be unnecessary for them to attend.

      11)    PRETRIAL SUBMISSIONS:

      Mandatory Fed. R. Civ. P. 26(a)(3) Disclosures (Jury and Non-Jury Cases)

      i) Not later than thirty days before the Trial Date (as defined in paragraph
8(a) above) counsel shall provide to all other parties and electronically file with the
Court the disclosures required under Fed. R. Civ. P. 26(a)(3).

             Note: The unavailability of any witness, expert or otherwise, will not be
             grounds for a continuance. In order to the possibility of going forward
             with the trial without the testimony of an unavailable witness, counsel,
             where appropriate, shall preserve same before the trial ready date by
             written or video-taped deposition for possible use at trial. Please refer

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             to the attached instruction sheet for use of video-taped depositions.

             Those initial pretrial disclosures must include the following:

            a) The name and, if not previously provided, the address and telephone
number of each witness, separately identifying those whom the party expects to
present and those whom the party may call if the need arises;

              b) The designation of those witnesses whose testimony is expected to
be presented by means of a deposition (including video-taped deposition),
specifically identifying the pertinent portions of the deposition testimony to be
offered; and

              c) An identification ofeach document or other exhibit, including
summaries of other evidence, separately identifying those which the party expects
to offer and those which the party may offer if the need arises.

       ii) Within fourteen days after service of the Rule 26(a)(3) initial pretrial
disclosures, any party served with such Rule 26(a)(3) disclosures shall serve and
electronically file with the court a list of any objections to the proposed use of
deposition testimony designated by another party and objections to the admissibility
of exhibits described in the initial disclosures, together with a summary of the
grounds for objection.

             Note: All objections not disclosed in a timely manner in accordance
             with this rule, other than objections under Fed. R. Evid. 402 and 403,
             are waived unless excused by the Court for good cause.

        iii) Non-Jury Trials: Fourteen (14) days before the Trial Date, counsel shall
electronically file with the court their joint pretrial stipulation (see subparagraph A
below) and all depositions (including video-taped depositions) to be used at trial (see
subparagraph D below). In addition to this and the required mandatory pretrial
disclosures referenced above (i.e., witness, deposition excerpt, and exhibit lists),
fourteen (14) days before the Trial Date counsel for each party shall electronically
file with the court, with a copy to opposing counsel, (1) prepared findings of fact and
conclusions of law; (2) a letter brief concerning any evidentiary issues (see
subparagraph C below); and (3) a trial brief (see subparagraph E below).

        iv) Jury Trials: Fourteen (14) days before the Trial Date, counsel shall
electronically file with the court their joint pretrial stipulation (see subparagraph A
below) and all depositions (including video-taped depositions) to be used at trial (see
subparagraph D below). In addition, fourteen (14) days before the Trial Date
counsel for each party shall electronically file with the court, with a copy to opposing
counsel, (1) Court Ordered Voir Dire (attachment #1); (2) proposed voir dire; (3) a
letter brief concerning any evidentiary issues (see subparagraph C below); (4) a trial
brief (see subparagraph E below); and (5) requests to charge, including a proposed

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Special Verdict Questionnaire (see subparagraph F below).

(A)PRETRIAL STIPULATIONS: A joint pretrial stipulation subscribed by counsel for
all parties shall be electronically filed with the Court fourteen (14) days before the
Trial Date and shall contain:

      (1)    The basis of federal jurisdiction;

      (2)    A list of all exhibits which can be stipulated into evidence or that will be
             offered without objection as to foundation; and

      (3)    Relevant (1) facts not in dispute, (2) facts in dispute, and (3) issues of
             law to be considered and applied by the Court.

(B) EXHIBITS: All exhibits shall be marked for identification in the manner
prescribed below prior to the filing of the trial briefs. A complete set of copies of the
exhibits, along with the original and one copy of the exhibit list (see subparagraph
1 below), shall be presented to the Judge’s Courtroom Deputy Clerk at the beginning
of the trial.

        The exhibits shall have been inspected by the opposing party and copied at
their expense (unless waived) NO LATER THAN FOURTEEN (14) DAYS PRIOR
TO THE TRIAL DATE. All documents and/or papers intended as exhibits or to be
used during the course of trial, including but not limited to, documents, photographs,
charts, diagrams, etc., shall be marked for identification in the manner prescribed
below and must be assembled in BINDERS with each document properly marked
at the lower right corner for identification purposes as directed below. In voluminous
cases, consult with the Judge’s Courtroom Deputy Clerk for the proper procedure
to follow.

        *NOTE: During the course of trial, the Courtroom Deputy shall take
charge of exhibits which are received into evidence. At the conclusion of the
trial, the Courtroom Deputy will immediately return all of the exhibits to the
proper parties. It is the responsibility of the parties to maintain the exhibits
and to produce the exhibits for any appeal.

      (1) EXHIBIT LISTS: The exhibits shall be listed on the form prescribed by the
Court, a copy of which is attached to this Order. Counsel are to supply the exhibit
number and exhibit description. The remaining boxes shall be left blank for the
Courtroom Deputy. The original and one copy of the exhibit list shall be given to the
Judge’s Courtroom Deputy Clerk along with the exhibits at the beginning of trial.

      (2) EXHIBIT MARKERS: Counsel shall fill in the appropriate markers leaving
the “Dated entered” and “Deputy Clerk” lines blank. All exhibits shall be assigned
numbers by using a prefix of “P” for plaintiff, “D” for defendant, and “G” for
Government (U.S. Attorney).

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Plaintiff’s exhibits should be denoted as: P-1, P-2, P-3, etc. Defendant’s exhibits
should be denoted as: D-1, D-2, D-3, etc. Government’s exhibits should be denoted
as: G-1, G-2, G-3, etc. In cases involving multiple defendants, the exhibits shall be
denoted with the initial of the last name of the defendant and its numerical
identification number.

Stickers shall be affixed whenever possible to the lower right-hand corner of the
exhibit. If the exhibit marker is going to cover any information on the exhibit, then
affix the marker to the reverse side of the exhibit. Each exhibit shall also have an
exhibit number in the upper right hand corner of the exhibit. (P-1, P-2, etc. or D-1,
D-2, etc.).

©) EVIDENTIARY ISSUES (Motions in Limine): Fourteen (14) days before the
Trial Date, counsel shall electronically file with the Court, with a copy to opposing
counsel, a letter brief containing a concise statement of any and evidentiary issues
to be presented upon trial, citing the applicable rules of evidence and case law.

(D) DEPOSITIONS: All depositions (including video-taped depositions) to be used
at trial shall be filed with the Clerk’s Office at least fourteen (14) days before the
Trial Date. Not earlier than one week and not less than four days prior to the Trial
Date, each party shall indicate to the other party the portion of the deposition to be
offered. To the extent possible, objections are to be resolved between the parties.
Areas of unresolved disagreement shall be presented to the Court for ruling prior to
the Trial Date. (See attached instruction sheet for use of video-taped depositions.)

(E) TRIAL BRIEFS: Fourteen (14) days before the Trial Date, counsel shall
electronically file with the court, with a copy to opposing counsel, a trial brief
containing argument and citations on any and all disputed issues of law, citing the
applicable rules of evidence and case law.

(F) REQUESTS TO CHARGE: Fourteen (14) days before the Trial Date, counsel
shall electronically file with the Court a request to charge and a proposed Special
Verdict Questionnaire. These documents shall also be sent in a TEXT format (ie.,
WordPerfect or Word, but not .pdf format) to Judge McAvoy’s electronic mail box:
NYND_TJM_ECF_NOTICES@nynd.uscourts.gov (*Note: email address is case
sensitive.) The request to charge need only include instructions that are specific
to the law in this case regarding liability, damages, and any unusual issues. The
court has the usual boilerplate charge.

(G) COURTROOM TECHNOLOGY: If the parties intend to utilize the courtroom
equipment at the time of trial, counsel are directed to contact the Courtroom Deputy
prior to the trial date to make arrangements for training and testing such equipment.
Please keep in mind that the Court does not provide a person to run the equipment
during trial. The courtroom is supplied with a DVD unit, visual evidence presenter,
VGA connections for laptops (no internet), and interpreter/hearing impaired
headsets. All non-proprietary DVD’s (i.e., .avi, .mp3, .mp4, and .wmv) should be

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compatible with the Court’s DVD player, however, prior to the trial date, counsel
must confirm such compatibility for use at the time of trial. If any portion of the DVD
should be redacted, it is the responsibility of counsel to provide a redacted copy for
use at trial. Counsel may be required to utilize the visual presenter to publish
exhibits to the jury. The visual evidence presenter will allow counsel to display
documents, photos, objects, x-rays, and electronic presentations on monitors placed
throughout the courtroom and in the jury box with touch screen monitors at the
podium and witness stand. Laptop connections are available at the podium and at
all counsel tables (no internet). Please note that audio cables are not available and
counsel should provide their own, if necessary. If you are presenting evidence
through a Macintosh laptop, a video convertor/adaptor is required and must be
supplied by counsel. In the event counsel’s equipment is not compatible with the
courtroom’s equipment, the Court is not responsible for supplying additional
electronic parts to remedy this. One week prior to the trial date counsel may
request that the court reporter provide a live realtime transcript or an end of day
transcript. There is a charge for these services and financial arrangements
should be made ahead of time with the court reporter. When requesting a live
realtime transcript the following is required: 1) litigation support software, (i.e.,
LiveNote, Bridge, Caseview); 2) hardware (i.e., if laptop does not have a serial port,
a USB to serial adaptor is required). Additional courtroom technology information
may be obtained on the court’s webpage: http://www.nynd.uscourts.gov/courtroom-
technology.

(H) Alternative Dispute Resolution:

             This action has been referred into the Mandatory Mediation Program.
             The Court has discussed with the parties the time frame for completion
             of the Mandatory two-hour mediation session. Mandatory Mediation
             shall be completed by June 30, 2020. The Court will issue a separate
             order referring this case into the Mandatory Mediation Program.

STATUS REPORT: Counsel are directed to report to the Court as to the status of
the case. The report is to be submitted in letter form and filed electronically with the
Clerk of the Court, to attention of Judge Hummel. The report should include a
discussion of the discovery completed to date, any that is scheduled, and any
settlement negotiations that have occurred or are scheduled. STATUS REPORT is
to be submitted by August 28, 2020.




DATED: March 5, 2020
       Albany, NY

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                           COURT ORDERED VOIR DIRE
                       TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: Richard Lynch vs. MTX Group, Inc. ,et al.
CIVIL ACTION NO.: 19-CV-1424
ASSIGNED JUDGE OR MAGISTRATE JUDGE: THOMAS J. McAVOY

                                     ATTACHMENT #(1)

        Each attorney is required to submit the following information on behalf of his/her client
for use by the Court during Voir Dire and must be filed with the Court one week before the Final
Pretrial Conference, or any other date set by the Court.

NAMES AND ADDRESSES OF ALL PARTIES TO THE LAWSUIT:




(use additional page if necessary)

YOUR NAME, FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR ASSOCIATE
WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE TRIAL.




(use additional page if necessary)

SET FORTH THE DATE OF THE OCCURRENCE, THE PLACE OF THE OCCURRENCE AND
A BRIEF STATEMENT OF THE EVENTS CENTRAL TO THE LITIGATION.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE CALLED.




(use additional page if necessary)
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SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY CAUSE OF ACTION IN THE
COMPLAINT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE DEFENSE
ASSERTED AS WELL AS A STATEMENT ADDRESSING ANY COUNTERCLAIMS RAISED
IN THE ANSWER.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide
this information will be explained to the jury as to the extent of the delay and the attorney
causing same and if the delay causes a one (1) day or more postponement of this trial,
appropriate monetary sanctions will be imposed by the Court.



Submitted by: ___________________________________

Date: _______________________
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FINAL PRETRIAL ORDER - CONTINUED...


          INSTRUCTIONS FOR THE USE OF VIDEO TAPED DEPOSITIONS


COUNSEL ARE TO VIEW ALL VIDEOTAPES WHICH MAY BE OFFERED INTO EVIDENCE AT
THE TIME OF TRIAL. ALL VIDEO-TAPED DEPOSITIONS TO BE USED AT TRIAL SHALL BE
FILED WITH THE CLERK’S OFFICE AT LEAST ONE WEEK BEFORE THE TRIAL READY DATE.
NOT EARLIER THAN ONE WEEK AND NOT LESS THAN FOUR DAYS PRIOR TO THE TRIAL
READY DATE, EACH PARTY SHALL INDICATE TO THE OTHER PARTY THE PORTION OF
THE DEPOSITION TO BE OFFERED. TO THE EXTENT POSSIBLE, OBJECTIONS ARE TO BE
RESOLVED BETWEEN THE PARTIES.      COUNSEL SHALL SUBMIT ALL OBJECTIONS IN
WRITING TO THE COURT FOR RULING PRIOR TO THE TRIAL READY DATE.




THE CLERKS OFFICE HAS AVAILABLE A DVD PLAYER AND TELEVISION FOR USE AT TRIAL.
PLEASE BE ADVISED THAT YOU MUST PROVIDE A PERSON TO RUN THE EQUIPMENT
DURING THE COURSE OF THE TRIAL.       ADDITIONAL COURTROOM TECHNOLOGY
INFORMATION      MAY    BE   OBTAINED     ON    THE   COURT’S     W EBPAGE
WWW.NYND.USCOURTS.GOV




                  ELECTRONIC VISUAL EVIDENCE PRESENTER


IN ADDITION TO THE VIDEO EQUIPMENT NOTED ABOVE, THE COURT HAS AVAILABLE A
VISUAL EVIDENCE PRESENTER WHICH WILL ALLOW COUNSEL TO DISPLAY PHOTOS
(NEGATIVES OR POSITIVES), DOCUMENTS, X-RAYS, AND 3-D OBJECTS , WITHOUT WIRES,
ON TELEVISIONS PLACED THROUGHOUT THE COURTROOM.           THIS EQUIPMENT IS
AVAILABLE AT THE COURTHOUSES IN ALBANY, SYRACUSE, UTICA AND BINGHAMTON.
USE OF THE VISUAL PRESENTER MAY BE REQUIRED BY THE TRIAL JUDGE PRESIDING
OVER YOUR CASE. FOR FURTHER INFORMATION ON THE USE OF THIS EQUIPMENT,
PLEASE CONTACT THE COURTROOM DEPUTY CLERK FOR THE ASSIGNED TRIAL JUDGE.
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  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-1424                  CASE NO. 19-CV-1424

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-1424                  CASE NO. 19-CV-1424

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-1424                  CASE NO. 19-CV-1424

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT         UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK        NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-1424                  CASE NO. 19-CV-1424

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK
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                                                                                                        Page 1 of ____
                                               United States District Court
                                              Northern District Of New York
Case No. 19-CV-1424
Date: _________________
Presiding Judge: Thomas J. McAvoy

              Plaintiff                         Defendant                      Court

  Exhibit    Marked for      Admitted Into           Remarks          Witness             Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _____________

Signature: _________________________
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                                                                                              Page ____ of ____



  Exhibit    Marked for      Admitted Into           Remarks    Witness             Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _____________

Signature: _________________________
                       Case 1:19-cv-01424-TJM-CFH Document 9 Filed 03/05/20 Page 15 of 22

                          PRETRIAL & SETTLEMENT CONFERENCE STATEMENT
                                       ( NOT FOR PUBLIC VIEW )
                        ** THIS DOCUMENT WILL BE PROVIDED TO THE CLERK AND
                                NOT FILED IN ACCORDANCE WITH L.R. 5.7

CASE NAME: Richard Lynch vs. MTX Group, Inc. ,et al.

ACTION NO.: 19-CV-1424

ASSIGNED JUDGE: THOMAS J. McAVOY

ASSIGNED MAGISTRATE JUDGE: CHRISTIAN F. HUMMEL

        Each Attorney is required to submit the following information on behalf of his or her client in short, concise form, in
order to present a brief overview of the facts of the case. This information will be used by the Court during the scheduled
final pretrial/settlement conference and therefore must be provided to the Court five (5) days in advance of the
conference date.

PARTY/PARTIES REPRESENTED;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF PERSONAL HISTORY REGARDING YOUR CLIENT(S);

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
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(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS OF THE CASE;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
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A BRIEF STATEMENT OF THE CLAIMS AND DEFENSES, i.e., STATUTORY OR OTHER GROUNDS UPON WHICH
THE CLAIMS ARE FOUND; AND EVALUATION OF THE PARTIES’ LIKELIHOOD OF PREVAILING ON THE CLAIMS
AND DEFENSES; AND A DESCRIPTION OF THE MAJOR ISSUES IN DISPUTE; SET FORTH ANY DEMANDS OR
OFFERS FOR SETTLEMENT

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A SUMMARY OF THE PROCEEDINGS TO DATE;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

AN ESTIMATE OF THE COST AND TIME TO BE EXPENDED FOR FURTHER DISCOVERY, PRETRIAL AND TRIAL;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS AND ISSUES UPON WHICH THE PARTIES AGREE;
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
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ANY DISCREET ISSUES WHICH, IF RESOLVED, WOULD AID IN THE DISPOSITION OF THE CASE;
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
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THE RELIEF SOUGHT;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

THE PARTIES’ POSITION ON SETTLEMENT, INCLUDING PRESENT DEMANDS AND OFFERS, THE HISTORY OF
PAST SETTLEMENT DISCUSSIONS, OFFERS AND DEMANDS;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

PREFERRED TRIAL LOCATION, APPROXIMATE LENGTH OF TRIAL, AND WHETHER TRIAL IS JURY OR NON-
JURY;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

       The Court requires that each party be represented at each pretrial conference by an attorney who has the authority
to bind that party regarding all matters identified by the Court for discussion at the conference and all reasonably related
matters including settlement authority.

        Copies of the settlement statement shall NOT be served upon the other parties. This document will not be filed and
will not be made available for public view.
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       Should the case be settled in advance of the pretrial/settlement conference date, counsel are required to notify the
court immediately. Failure to do so could subject counsel for all parties to sanctions.

Signature of Counsel:      _______________________________

Dated:                     _______________________________
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OAO 85 (Rev. 01-09) Notice, Consent and Reference of a Civil Action to a Magistrate Judge


                                                                          UNITED STATES DISTRICT COURT
                                                                                                        for the

___________________________________________________ District of __________________________________________________


___________________________________________________ )
               Plaintiff                            )
                   v.                               )                                Civil Action No.
                                                    )
___________________________________________________ )
               Defendant                            )


                     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a Magistrate Judge’s availability. A United States Magistrate Judge of this court is available to conduct all proceedings in this civil action (including a jury or
nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed directly to the United States Court of Appeals like any other judgment of this court. A
Magistrate Judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse substantive consequences. The name of any party
withholding consent will no be revealed to any judgment who may otherwise be involved with your case.

          Consent to a Magistrate Judge’s authority. The following parties consent to have a United State Magistrate Judge conduct all proceedings in this case including trial, the
entry of final judgment, and all post-trial proceedings.

          Parties’ printed names                                 Signatures of parties or attorneys                      Dates

____________________________________                     ____________________________________________             _________________________

____________________________________                     ____________________________________________             _________________________

____________________________________                     ____________________________________________             _________________________

____________________________________                     ____________________________________________             _________________________

                                                                                               Reference Order

        IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order the entry of a final judgment in accordance with 28 U.S.C.
§636©) and Fed.R.Civ.P.73.
                                        Case 1:19-cv-01424-TJM-CFH Document 9 Filed 03/05/20 Page 22 of 22




Date:   ___________________________                           ____________________________________________________
                                                                            District Judge’s Signature

                                                               ____________________________________________________
                                                                             Printed name and title

Note:   Return this form to the clerk of the court only if you are consenting to the exercise of jurisdiction by a United States Magistrate Judge. Do not return this form to a Judge.
